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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

John Velez
                                Plaintiff,
v.                                                   Case No.: 1:18−cv−08144
                                                     Honorable Edmond E. Chang
Thomas J. Dart, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 30, 2020:


        MINUTE entry before the Honorable Edmond E. Chang: On review of the motion
[75] to stay and to bifurcate the Monell claim, the motion is denied. It is true that, in
several prior cases, the Court has granted motions asking for the same relief. Often
(though not always), Monell claims are dependent on individual liability, so if the
individual claims fail, then the Monell claims do too. And if the municipality is willing to
pay compensatory damages if the individual claims prevail, and there is no potential for
injunctive relief, then there is no need to waste time and resources on litigating the Monell
claim with the individual claim. Despite what the Plaintiff argues here, the Monell claim
is indeed dependent on individual liability too. But the Court must strike a balance when
evaluating these bifurcation motions, also taking into account the probative force a Monell
claim has on proving−up the individual claim. The defense anticipated and tried to
distinguish a prior case like that, R. 75 at 7−8 (discussing the still−pending Holmes v.
Hernandez, Case No. 14−cv−08536), which the Court appreciates, but the allegations in
this case tip the balance toward denying the motion. As the Holmes case exemplified, R.
139, R. 343 at 2, the more egregious the alleged misconduct, the more valuable the
probative force of the Monell claim in proving the individual claim. That is, an individual
defendant is more likely to commit the alleged constitutional violations (in Holmes, a fatal
shooting) if a policy or custom was a moving force behind the misconduct. The more
egregious the allegations, the more likely that non−lawyer jurors are naturally skeptical
that the alleged misconduct happened, given that the jury would assume that other
mechanisms−−including the municipality's own policies and disciplinary
watchfulness−−are in place to tamp down the possibility of the misconduct. Here, Velez
alleges that he was framed for **murder,** R. 91, the most serious frame−up possible.
The Monell claim thus has strong probative value in proving the individual claim. Yes,
there surely will be delay and expense added to the case, but the balance favors moving
ahead with Monell discovery. Of course, the Court urges the parties to focus on the most
tightly relevant Monell allegations, rather than wide−open discovery into every kind of
wrongful conviction. The Court has no doubt that the magistrate judge will expertly
manage Monell discovery. For example (but this is for the magistrate judge to decide),
limits on Monell discovery could include focusing only on wrongful convictions in
murder prosecutions specifically; and cases in which the fabrication of evidence consisted
of pressuring eyewitnesses (like in this case) and in which the withholding of exculpatory
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evidence was specific to alleged street files. Also, the magistrate judge is free to set
appropriate limits based on burden, proportionality, and any other pertinent limit (such as
the relevant time period and the number of other wrongful−conviction cases), as well as to
order cost−splitting. The parties might also look to the Monell discovery packages, if any,
in other wrongful−conviction lawsuits. Lastly, as discovery progresses, the defense can
renew the motion if the balance changes. The motion is denied.Emailed notice(eec)




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